     Case 8:20-cr-00146-DOC Document 47 Filed 03/09/21 Page 1 of 5 Page ID #:219



 1   TRACY L. WILKISON
     Acting United States Attorney
 2   CHRISTOPHER D. GRIGG
     Assistant United States Attorney
 3   Chief, National Security Division
     MARK TAKLA (Cal. Bar No. 218111)
 4   Assistant United States Attorneys
     Acting Chief, Terrorism and Export Crimes Section
 5        United States Attorney’s Office
          411 West Fourth Street, Suite 8000
 6        Santa Ana, California 92701
          Telephone: (714) 338-3500
 7        Facsimile: (714) 338-3561
          Email:      mark.takla@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12                                 SOUTHERN DIVISION

13   UNITED STATES OF AMERICA,               No. SA CR 20-00146-DOC

14                   Plaintiff,              EX PARTE REQUEST FOR STAY OF
                                             RELEASE ORDER
15                   v.

16   JASON FONG,

17                   Defendant.

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the Acting United States Attorney for the Central District
21   of California and Assistant United States Attorney Mark Takla,
22   hereby applies for an extension of the stay of the release order as
23   to defendant Jason Fong.
24        Defendant opposes this application.
25   //
26   //
27

28
     Case 8:20-cr-00146-DOC Document 47 Filed 03/09/21 Page 2 of 5 Page ID #:220



 1        This ex parte application is based upon the attached declaration

 2   of Assistant United States Attorney Mark Takla.

 3   Dated March 9, 2021                 Respectfully submitted,

 4                                       TRACY L. WILKISON
                                         Acting United States Attorney
 5
                                         CHRISTOPHER D. GRIGG
 6                                       Assistant United States Attorney
                                         Chief, National Security Division
 7

 8
                                         MARK TAKLA
 9                                       Assistant United States Attorneys

10                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          2
     Case 8:20-cr-00146-DOC Document 47 Filed 03/09/21 Page 3 of 5 Page ID #:221



 1                            DECLARATION OF MARK TAKLA
 2        I, Mark Takla, declare as follows:

 3        1.    I am an Assistant United States Attorney in the United

 4   States Attorney’s Office for the Central District of California.              I

 5   represent the government in this matter.

 6        A.    Background
 7        2.    On October 19, 2020, defendant Jason Fong made his initial

 8   appearance before the Honorable Karen E. Scott, United States

 9   Magistrate Judge.    Defendant waived indictment and was brought to

10   federal court on writ on an information charging him with concealing

11   material support to a foreign terrorist organization, in violation of

12   18 U.S.C. § 2332C(c).     The government sought detention.        At the time,

13   defendant waived his detention hearing.        At his initial appearance,

14   defendant was represented by Katherine Corrigan.

15        3.    On November 20, 2021, current counsel substituted in as

16   counsel of record.

17        4.    Defendant filed a request for a detention hearing on

18   February 23, 2021.    That same day, Judge Scott set a hearing for

19   February 26, 2021.

20        5.    The court held a hearing on February 26, 2021.          Pretrial

21   Services recommended detention.       Defendant was released on a $300,000

22   appearance bond secured by real property, with various conditions

23   including home confinement, electronic monitoring, and firearms and

24   internet restrictions.     The court conditioned release to Pretrial

25   Services after the positing of the bond.

26        6.    On March 4, 2021, the government filed an application for

27   review/reconsideration of the order setting conditions of bond before

28   this Court.
     Case 8:20-cr-00146-DOC Document 47 Filed 03/09/21 Page 4 of 5 Page ID #:222



 1           7.     On March 5, 2021, this Court requested a seven-day

 2   expedited transcript and that the government’s application be held in

 3   abeyance.      The government initially read this order as issuing a stay

 4   of the release order.      In an abundance of caution, the government

 5   files this application.        The Court has not set a hearing for the

 6   government’s request.

 7           8.     As of the filing of this application, defendant has not

 8   completed the bond paperwork and submitted it to the government for

 9   approval.      He remains in custody.

10           B.     Request for Stay of the Release Order
11           9.     The government moves the Court to enter an order extending

12   the stay of the release order until the duty district judge resolves

13   the government’s request for review.       By imposing the stay, the Court

14   will maintain the status quo pending further review, and prevent any

15   risk that defendant will flee or endanger the community during the

16   period when the government’s application for review is pending.

17           10.    The government submits that defendant’s offense conduct,

18   status of a servicemember, and history and characteristics warrant a

19   stay.       Relevant facts include:

20                 Stated he wanted to die violently in the United States;
21                 Stated he wanted to harm police officers;
22                 Sent explosive making information to a 15-year-old minor on
23                  two occasions after the minor told defendant he wanted to

24                  (1) blow up an Air Force base; and (2) travel to Syria to

25                  join a Foreign Terrorist Organization (“FTO”);

26                 Possessed an illegal and unserialized assault rifle (or
27                  “ghost gun”) with a chambered round and accessible for

28                  quick access;

                                           2
     Case 8:20-cr-00146-DOC Document 47 Filed 03/09/21 Page 5 of 5 Page ID #:223



 1             Possessed a pistol with a chambered round underneath his
 2              pillow;
 3             Possessed nine illegal firearms magazines and a stockpile
 4              of thousands of rounds of ammunition;
 5             Possessed a gas mask and body armor (not Marine Corps
 6              issue);
 7             Fundraised for an FTO;
 8             Stated he wanted to travel to Syria to fight;
 9             Stated he wanted to harm members of the lesbian, gay,
10              bisexual, transgender and queer or questioning (“LGBTQ”)
11              community, and one of his former high school teachers; and
12             Pretrial services recommended detention because of both
13              flight risk and danger to the community.
14        11.   Defendant objects to the stay.
15        I declare under penalty of perjury under the laws of the United
16   States of America that the foregoing is true and correct and that
17   this declaration is executed in Orange County, California, on March
18   9, 2021.
19

20                                            MARK TAKLA
21

22

23

24

25

26

27

28

                                          3
